Case 2:21-mj-00067-BAT Document 12 Filed 02/08/21 Page 1 of 2

\®* — United States District Court \°/

M4 Western District of Washington He

   

 

UNITED STATES OF AMERICA, APPEARANCE BOND

VS

ETHAN NORDEAN CASE No: MJ21-067

I understand that I may be released from custody, pending further proceedings in this case, on the conditions marked below:

Court Appearances. | must appear in court at the £. Barrett Prettyman United States Courthouse, 333 Constitution Avenue, N.W.,
Room 1225, Washington, DC 20001; Courtroom: via ZOOM, on Monday, February 15, 2021 at 1:00 PM Eastern Time and at all
other hearings in this case, including turning myself in to begin serving a sentence, should that occasion arise. I UNDERSTAND
THAT A WILLFUL FAILURE TO APPEAR IN COURT AT A TIME SET FOR HEARING IS A SEPARATE CRIMINAL OFFENSE,
PUNISHABLE BY UP TO 10 YEARS IMPRISONMENT AND A FINE OF $250,000.

No Law Violations. | must not commit a federal, state, or local crime during the period of release. I understand that if 1 commit a
felony while on release, my sentence can be increased by a maximum of ten years. If ] commit a misdemeanor while on release,
my sentence can be increased by a maximum of one year. These sentences would be consecutive to all other applicable sentences.
DNA Testing. I must cooperate in the collection of a DNA sample if the collection is authorized by 42 U.S.C. § 14135a.

No Controlled Substances. I must not use, consume or possess any controlled substances, including medication, unless prescribed
by a physician and approved in advance by the Pretrial Services Officer.

Address. I must furnish my attorney, and/or Pretrial Services if supervised, with my current address and telephone number (if any)
where I will reside upon release and where I will receive any notices of hearing dates. I must report any changes in that address or
telephone number to my attorney, and/or Pretrial Services if supervised, within one business day.

Restrictions on Travel. | must not travel outside the Continental United States or as directed below under 'Other Conditions’.
Victim and Witness Protection. | must not harass, threaten, intimidate, tamper with, improperly influence, or injure the person or
property of witnesses, jurors, informants, victims of crime, judicial officers, or other persons related to official proceedings before
the Court, in violation of 18 U.S.C. § 1503, 1512, and 1513.

Pretrial Supervision. I am subject to Pretrial Services supervision by the Pretrial Services Office of the Court and must abide by
such of the general and special conditions of release as that office shall impose. I must report to the Office of Pretrial Services at E.
Barrett Prettyman United States Courthouse 333 Constitution Avenue, N.W., Room 1225 Washington, DC 20001 within 24 hours
of my release unless released during a weekend or on a holiday in which case I must report at 9:00 a.m. the following court day.

The defendant has had a full opportunity to review this Appearance Bond and confer with his/her attorney. During the detention
hearing, conducted by video/telephone during the COVID-19 Health Emergency, defendant orally agreed to be bound by the
terms of the bond. A copy of this executed document shall be provided to the defendant at the hearing’s conclusion via US
Marshal.

OTHER SPECIAL CONDITIONS:

Travel is restricted to King County, Washington, or as directed by Pretrial Services. The defendant may travel to the District of
Columbia for court purposes only.

Maintain residence as directed. Do not change residence without prior approval of Pretrial Services or as directed by Pretrial
Services.

Surrender all current and expired passports and travel documents to the court. Do not apply for/obtain a new passport or travel
document from any country without permission of the court. If the surrendered passport is a foreign passport, it shall be
forwarded to Immigration and Customs Enforcement if defendant is convicted of an offense, unless otherwise ordered by the
Court.

Maintain employment, or, if unemployed, actively seek employment as directed by Pretrial Services.

The defendant shall abide by all federal, state, and local directives regarding the COVID-19 pandemic.

The defendant shall comply with a curfew (5:30pm — 6:30am), or as directed by Pretrial Services.

You shall not have direct contact or indirect contact with any existing and/or future co-defendant(s) in this case.

You shall not have direct contact or indirect contact with any existing and/or future witnesses in this case.

Defendant will be released at 3:00pm Pacific Time on February 8, 2021 unless the government files an appeal by 3:00pm Pacific.
If an appeal is filed, the release order is stayed pending disposition by the District Judge.

 

 
Case 2:21-mj-00067-BAT Document 12 Filed 02/08/21 Page 2 of 2
Appearance Bond

Page 2 of 2
ETHAN NORDEAN MJ21-067

AGREEMENT BY DEFENDANT: | understand and agree to comply with every condition marked above, and I understand that if I fail
to comply with any conditions of my release, the Court will immediately issue a warrant for my arrest, and I will be subject to a revocation
of release, an order of detention, and prosecution for contempt of court. I understand this appearance bond remains in effect during any
proceeding on appeal or review.

 

 

x /s/ Corey Endo for Ethan Nordean February 8, 2021 AUBURN, WA
Signature Date Signed City, State of Residence
ORDER OF RELEASE
It is therefore ORDERED:

(1) Defendant shall comply with all conditions of this appearance Bond;
(2) Defendant shall be released from custody, and shall remain at liberty so long as he or she complies with the provisions of this Appearance Bond, or
until further order of the Court.

February 8, 2021 fa/

Date Signed Brian A. Tsuchida
UNITED STATES CHIEF MAGISTRATE JUDGE

cc: Defendant, Defense Counsel, U.S. Attorney, U.S. Marshal, Pretrial Services
